           Case 2:21-cv-00562-MCE-DMC Document 15 Filed 03/03/23 Page 1 of 2


 1   Vincent C. Ewing, Esq. [SBN: 177708]
     Eric G. Salbert, Esq. [SBN: 276073]
 2   ALVAREZ-GLASMAN & COLVIN
     13181 Crossroads Parkway North, Suite 400
 3   City of Industry, CA 91746
     Telephone (562) 699-5500; Fax (562) 692-2244
 4   vewing@agclawfirm.com; esalbert@agclawfirm.com
 5   Attorneys for Defendants CITY OF CHICO, CHICO POLICE DEPARTMENT, and
     MICHAEL RODDEN CHICO POLICE DEPARTMENT WATCH COMMANDER
 6
     LARRY L. BAUMBACH [SBN: 50086]
 7   LAW OFFICES OF LARRY L. BAUMBACH
 8   2531 Forest Avenue, Suite 100
     Chico, CA 95928
 9   Telephone: (530) 891-6222; Facsimile: (530) 852-3969
     llblaw@sandpipernet.com
10
     Attorney for Plaintiff DONELL TRAMAINE THOMAS
11
12
                                 UNITED STATES DISTRICT COURT
13
14                             EASTERN DISTRICT OF CALIFORNIA

15
16   DONELL TRAMAINE THOMAS,                         Case No.: 2:21-CV-00562-MCE-DMC

17                         Plaintiff,                Hon. Morrison C. England, Jr., Presiding

18            vs.                                    JOINT STIPULATION OF DISMISSAL AND
                                                     ORDER THEREON
19   CITY OF CHICO; CHICO POLICE
     DEPARTMENT; MICHAEL RODDEN CHICO                [FED. R. CIV. P. 41(a)(1)(A)(ii)]
20   POLICE DEPARTMENT WATCH
     COMMANDER, and DOES 1 through 50,
21   inclusive,
22
                           Defendants.
23
24
     ///
25
     ///
26
     ///
27
     ///
28
     ///

                                                 -1-
                         JOINT STIPULATION OF DISMISSAL AND ORDER THEREON
        Case 2:21-cv-00562-MCE-DMC Document 15 Filed 03/03/23 Page 2 of 2


 1           Plaintiff DONELL TRAMAINE THOMAS and Defendants CITY OF CHICO, CHICO
 2   POLICE DEPARTMENT and MICHAEL RODDEN CHICO POLICE DEPARTMENT WATCH

 3   COMMANDER (collectively, the “Parties”), by and through their counsel of record, hereby

 4   stipulate under Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii) that this action be dismissed

 5   with prejudice as to all claims, causes of action, and parties, with each party bearing that party’s own

 6   attorneys’ fees and costs.

 7           Respectfully submitted,

 8   Dated: March 1, 2023                  ALVAREZ-GLASMAN & COLVIN
                                               VINCENT C. EWING, CITY ATTORNEY
 9
10                                                 By:      /s/ ERIC G. SALBERT
                                                          Eric G. Salbert, Deputy City Attorney
11                                                        Attorneys for Defendants,
12                                                        CITY OF CHICO, CHICO POLICE
                                                          DEPARTMENT, AND MICHAEL RODDEN
13                                                        CHICO POLICE DEPARTMENT WATCH
                                                          COMMANDER
14
     Dated: March 1, 2023                          LAW OFFICES OF LARRY L. BAUMBACH
15
16
                                                   By:      /s/ LARRY L. BAUMBACH
17
                                                         LARRY L. BAUMBACH
18                                                       Attorney for Plaintiff DONELL TRAMAINE
                                                         THOMAS
19
                                          ORDER OF DISMISSAL
20
             Pursuant to the foregoing stipulation Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii),
21
     and good cause appearing, this action is dismissed with prejudice as to all claims, causes of action,
22
     and parties, with each party bearing that party’s own attorneys’ fees and costs. The Clerk is directed
23
     to close the file.
24
             IT IS SO ORDERED.
25
     Dated: March 2, 2023
26
27
28


                                                    -2-
                            JOINT STIPULATION OF DISMISSAL AND ORDER THEREON
